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                          UNITED    STATES     DISTRICT       COURT
                          EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division




 ANEWBIS HARGROVE,
 Individually and on behalf of
 other similarly situated
 individuals/      et al.,

                             Plaintiffs,

       v.                                                        ACTION NO.     2:llcv344


 RYLA TELESERVICES,        INC.,


                             Defendant.



                                          ORDER


       This matter comes before the court on the defendant's Motion

 to Seal    (ECF No.     120)    filed on October 25,          2012; Joint Motion for

 Approval    of    Settlement      of   Fair    Labor     Standards      Act    Collective

 Action (ECF No. 122) filed on October 26, 2012; plaintiffs' Consent

 Motion for Attorneys'           Fees and Litigation Expenses (ECF No.                126)

 filed on October 29,           2012; and,     defendant's Second Motion to Seal

 (ECF No.   142)    filed on November 8,          2012.       The matter was referred

 to a United States Magistrate Judge by Order of November 2, 2012,

 pursuant to the provisions of 28 U.S.C. § 636(b)(1)(B) and (C) and

 Federal    Rule    of    Civil     Procedure        72(b),     to    conduct   hearings,

 including evidentiary hearings, if necessary, and to submit to the

 undersigned       proposed       findings      of    fact,      if    applicable,     and

 recommendations for the disposition of the motions.
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       The United States Magistrate Judge's Report and Recommendation

 was filed on April 12, 2013.      The magistrate judge recommended that

 the Motions     to Seal   (ECF Nos.    120   and   141)    be   denied;    that   the

 Joint Motion for Approval of Settlement of Fair Labor Standards Act

 Collective Action (ECF No. 122) be granted; and,                 that plaintiff's

 Consent Motion for Attorneys' Fees and Litigation Expenses (ECF No.

 126) be granted.

       By copy of    the report and recommendation of              the magistrate

 judge,   the parties were advised of          their right to file written

 objections thereto.       The court has received no objections to the

 magistrate     judge's report and recommendation,               and the    time   for

 filing same has expired.

       The court does hereby adopt and approve in full the findings

 and recommendations set forth in the Report and Recommendation of

 the   United    States    Magistrate   Judge       filed    April    12,    2013.

 Accordingly, the defendant's Motions to Seal (ECF Nos. 120 and 142)

 are DENIED;     the Joint Motion for Approval of Settlement of Fair

 Labor Standards Act Collective Action (ECF No. 122) is GRANTED; and

 the plaintiffs' Consent Motion for Attorneys'              Fees and Litigation

 Expenses (ECF No. 126) is GRANTED.

       The Clerk shall forward a copy of this Final Order to all

 parties of record.

       It is SO ORDERED.                                                    DQ*l
                                                     Rebecca Beach Smith
 May 3' 2013                                         United StetH District Judge
